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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF OREGON

RONALD-KENNETH STRASSER, Case No. 3:19-cv-1051-SI

Plaintiff, ORDER
Vv.
STATE OF OREGON, ef al.,

Defendants.

Michael H. Simon, District Judge.

Plaintiff moves for an extension of 30 days from the date of this Order to file his Third
Amended Complaint and for clarification of the Court’s Order dated April 20, 2021. Plaintiff's
motion for extension of time is granted, and the Court clarifies its April 20th Order as follows.

Plaintiff requests clarification of the Court’s finding that Plaintiff's Second Amended
Complaint (SAC) did not comply with Rule 8 of the Federal Rules of Civil Procedure, The Court
cited authorities for the general proposition that Rule 8 requires a “short and plain statement of
the claim showing that the plaintiff is entitled to relief.” Those cited authorities found various
deficiencies under Rule 8 in the complaints they evaluated. Plaintiff questions whether ail of
those deficiencies apply to the SAC. The fact that the Court cited authorities to support a general

proposition regarding the standard under Rule 8 does not mean that the SAC suffers from those

precise deficiencies.

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The Court discussed that the SAC—similar to the complaints in the cited cases—does not
provide a short and plain statement of the case. As the Court noted in its April 20th Order, the
SAC primarily contains questions by Plaintiff and quotes from purported legal authorities.
Plaintiff questions why those type of allegations do not fall within Rule 8. The Court does not
provide legal advice, but notes that Rule 8 requires factual allegations to state a claim. See, e.g.,
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“A claim has facial plausibility when the plaintiff
pleads factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged.”); Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (stating
that under Rule 8 a complaint “may not simply recite the elements of a cause of action, but must
contain sufficient allegations of underlying facts to give fair notice and to enable the opposing
party to defend itself effectively”). Legal conclusions may be part of the framework ofa
complaint, but the Court does not accept them as true and they do not suffice to state a claim.
Iqbal, 556 U.S. at 678-79 (“First, the tenet that a court must accept as true all of the allegations
contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of the elements
of a cause of action, supported by mere conclusory statements, do not suffice... . While legal
conclusions can provide the framework of a complaint, they must be supported by factual
allegations.”).

Regarding sovereign immunity, Plaintiff requests that the Court answer “who or what is
‘State of Oregon.” For purposes of Plaintiff's Third Amended Complaint, the State of Oregon is
the defendant named by Plaintiff that the Court has identified as being subject to Eleventh
Amendment immunity.

Regarding absolute judicial immunity, Plaintiff questions why allegations of conspiracy

are not sufficient. As explained by the Ninth Circuit, sitting e bane,

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Judges’ immunity from civil liability should not be affected by the
motives with which their judicial acts are performed. Intent should
play no role in the immunity analysis. Moreover, allegations that a
conspiracy produced a certain decision should no more pierce the
actor’s immunity than allegations of bad faith, personal interest or
outright malevolence,

The primary policy of extending immunity to judges and to
prosecutors is to ensure independent and disinterested judicial and
prosecutorial decisionmaking. To effectuate this policy, we will
broadly construe the scope of immunity. To foreclose immunity
upon allegations that judicial and prosecutorial decisions were
conditioned upon a conspiracy or bribery serves to defeat these
policies.

Ashelman v. Pope, 793 F.2d 1072, 1078 (9th Cir. 1986) (en banc) (citations omitted). The focus
for judicial immunity is on the alleged acts of the judges. “As long as the judge’s ultimate acts
are judicial actions taken within the court’s subject matter jurisidiction, immunity applies.” Id.

The Court GRANTS Plaintiff's motion for extension of time to file his Third Amended
Complaint, ECF 34. Plaintiff has until June 16, 2021.

IT IS SO ORDERED.

DATED this 17th day of May, 2021.

is! Michael H. Simon

Michael H. Simon
United States District Judge

 

 

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Scheduling Orders/Judgments/Other Orders
3:19-cv-01051-S! Strasser v,
State of Oregon et al

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U.S. District Court
District of Oregon
Notice of Electronic Filing

The following transaction was entered on 5/19/2021 at 11:01 AM PDT and filed on 5/19/2021

Case Name: Strasser v. State of Oregon et al
Case Number: 3:19-cy-OL051-S]
Filer:

Document Number: 38(No document attached)

Docket Text:

ORDER - The Court mailed Plaintiff a copy of the Court's Order dated May 17, 2021 (ECF [35]), which granted
Plaintiff's motion for an extension of time to file his Third Amended Complaint. This copy was returned as
undeliverable. Under Local Rule 83-10, Plaintiff is required to notify the Court every time his contact information,
including his mailing address, changes. The Court may dismiss this case if Plaintiff fails to comply with Local
Rules. Plaintiff's most recent filing (ECF [37]) contains a different mailing address. The Court has updated
Plaintiff's mailing address to the address listed in (ECF [37]) and the Clerk of the Court is directed to mail to
Plaintiff a copy of this Order and the Court's Order dated May 17, 2021 (ECF [35]), to that address. If that is not
Plaintiff's current mailing address, Plaintiff is directed to file a Notice of Change of Address with the Court. In the
future, Plaintiff must file a Notice of Change of Address with the Court whenever his mailing address, telephone
number, or email address changes. Ordered by Judge Michael H. Simon. (Copy of this Order and Order [35]

mailed to Plaintiff on 5/19/2021} (mja)

3:19-ev-01051-SI Notice has been electronicaily mailed to:
3:19-cv-01051-SE Notice will not be electronically mailed to:
Ronald Kenneth Strasser

c/o 1435 Northeast 81 Avenue, Suite 100
Portland, OR Exempt

 

 

 

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